Case 1:07-cv-07823-CM Document6 Filed 03/14/08 Page 1 of 1

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_ UNITED STASTBS DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHLEEN J. O'SHEA,

X INDEX #07 CV 7823 (CM) (FM)

 

 

 

   
  
   

  

Piaintifi(s), STIPULATION OF
DISCONT PERANEE
-ageinst- USDS SDNY
ALLIANCEONE RECEIVABLES MANAGEMENT INC,, DOCUMENT
: ELECTRONICALLY FILED -
Defendant(s) DOC #: |

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DATE FILED: = dot "T

 

 

IT IS HEREBY STIPULATED AND AGREED, by and between tens

 

Plaintiff and the attorney for the Defondant in the above cntitied action, that whareas no party
hereto {5 an infant, incompetent persan for whom. a committee bas been appointed ar
conservatee and no person not a ‘party has an interest in the subject matter of the action, the
above entitied action be, and the same hereby is discantinued with prejudice, without costs and
without attomey’s fees to either. party as against the other. It is also agreed that any
counterclaim interposed is withdrawn. This stipilition may be filed without further notive with
the Clerk of the Court.

IT 1S HEREBY STIPULATED AND AGREED, that faxed signatures are to be deemed

originals by the Court.

 

 

 

 

ce/tB SBN

ARTHUR WINSTON
WINSTON & WINSTON, P.C.
591 Broadway, Suite 3A Attomeys for Defendant
New York, New York 10012 295 Madison. Avenus, Suite 930
Phone: (212) 966-5253 New York, New York 10017
Plone: (212) 922-9482

Fax fo 212)-941-8566

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